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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

SUBHEIL MELENDEZ VAZQUEZ on                  CIVIL NO. 3:17-cv-2279
behalf of minor J.J.S.M.


Plaintiffs                                   PLAINTIFF DEMANDS TRIAL BY JURY
Vs.

TJX COMPANIES, INC.; JOHN DOE, JANE
ROE

Defendants


                                    COMPLAINT

TO THE HONORABLE COURT:

       COME NOW plaintiff, through the undersigned counsel, and pursuant to this

Honorable Court, respectfully STATE, ALLEGE and PRAY:

                                   I. THE PARTIES

       1.    Representative, SUBHEILY MELENDEZ VAZQUEZ is of legal age,

married, and resident of Manatí, Puerto Rico. SUBHEILY is the mother with custody

and parens patrie of minor J.J.S.M., who in this cause of action happens to be the

moving party pursuant to Fed. R. Civ. P. 17(c)(1)(A).

       2.    Plaintiff, J.J.S.M., is a minor, student, and resident of Manatí, Puerto Rico.

J.J.S.M. is suffering the damages alleged herein and for which compensation is sought.

       3.    Defendant THE TJX COMPANIES, INC., [hereinafter “Defendant” and/or

TJX] is a corporation organized under the laws of the State of Delaware, located at

Corporation Trust Center, 1209 Orange Street, in the City of Wilmington, County of New

Castle. The name and Address of its registered agent is The Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.
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       4.     Defendants, JOHN FOE and JANE ROE are any individuals, legal

entities, private or governmental agencies, municipalities or entities that may be liable to

the plaintiff here, or were otherwise responsible to the facts that are reported here, and

are called at this time by fictitious names ignored the real, which shall be notified as

soon identified.

                                   II. JURISDICTION

       5.     This Honorable Court has subject matter jurisdiction over the instant case

pursuant to 28 U.S.C. sections 1332(a) (1), inasmuch as this is an action between

citizens of different states and the amount in controversy exceeds SEVENTY FIVE

THOUSAND DOLLARS ($75,000.00), exclusive of costs and interests.



                                     III. THE FACTS



       6.     On May 22 of 2006 EMKAY CARIBBEAN LEASING CORPORATION

[hereinafter “LESSOR”] and DEFENDANT executed a VEHICLE LEASE AGREEMENT

[hereinafter “THE LEASE”] where TXJ acquired a motor vehicle manufactured by Ford,

model Escape [hereinafter “the Leased Vehicle” and/or “Escape”], year 2013, license

plate No. IFR-333.

       7.     On September 1st of 2014, Mrs. NOEMI RIVERA CRESPO [hereinafter

“The Driver”, “TJX Employee” and/or “Mrs. Rivera Crespo”] was driving the

aforementioned Vehicle.

       8.     On September 1st of 2014, Plaintiff, JJSM, [hereinafter “The Minor” and/or

“Plaintiff”] was using his skateboard—also known as a “longboard” model—around the

vicinities of the basketball court inside the neighborhood Urb. Brisas de Mar Chiquita in

Manatí, Puerto Rico. Around 8:28PM, Plaintiff decided to leave said areas and head
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back home. While running his skateboard across the sidewalk and through the ramp

that gives access to the street in order to cross to the adjacent sidewalk, Plaintiff was

impacted by Mrs. Rivera Crespo while driving the Leased Vehicle.

       9.     The main cause of said collision was produced by Defendant’s

negligence. Defendant failed to conduct the Vehicle at a reasonable speed inside a

residential complex as required by Puerto Rico law. This type of conduct reflects

Defendant’s true contempt towards the life of others while driving within a residential

recreational park where children tend to play. Mrs. Noemi’s carelessness while

operating the Vehicle enabled her to take the proper measures in order to avoid the

accident that gives rise to the present cause of action.

       10.    The negligence in not taking the proper measures as to safeguard a

reasonable speed where children play rests exclusively on the Defendant behalf;

therefore, the accident is solely Mrs. Noemi’s responsibility.

       11.    In the wake of the impact, the Plaintiff, a minor, suffered traumas and

lacerations in all of his body. Specifically to his back, neck, an open wound to his head,

and a fractured clavicle. As a result of said injuries, the Minor had to receive first aid

assistance by paramedics, who later had to immediately transport him to the

Emergency Room at the Manatí Medical Center where he received rigorous medical

examinations, get stitches and where his left shoulder had to be immobilized to avoid

further damages.

       12.    In light of this event, Plaintiff has had to incur in necessary medical

treatments and undergo numerous vigorous medical examinations as well, thus,

causing him and his guardians anxiety and unnecessary stress due to the uncertainty of

his health at such a young age.

       13.    As a direct and proximate result of Defendant’s negligence, Plaintiff has

sustained and will continue to sustain severe physical damages, loss of consortium,
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emotional distress and consequential damages, uncertainty that an incident of the same

nature might happen again, and is therefore entitled to compensatory relief according to

proof, and to a declaratory judgment that Defendant is liable for breach of his duty to the

Plaintiff due to Defendant’s failure to safeguard while operating a motor vehicle as

established pursuant to Puerto Rico law.

      14.    Plaintiff will have a permanent impairment that will be determined in the

course of his medical treatment. Besides, this incident has substantially affected his

quality of life because he can no longer complete his daily tasks like he could prior to

this incident due to the continuous pain he keeps experiencing. These include, but are

not limited to: playing basketball as he was accustomed to; riding his skateboard

“longboard” with his peers; be active in sports like every other person of such a young

age; be limited to regular activities because his parents feel distress that something like

said event will happen again.

                             IV. PLAINTIFFS DAMAGES

      15.    The monetary damages suffered by Plaintiff, include, but are not limited to:

bodily and physical injury, pain and sufferings, mental anguish, psychological and

emotional distress, loss of enjoyment of life, loss of enjoyment of activities to which he

was accustomed, and expenses, among others, all of which are the direct

consequences of Defendant’s negligence, are conservatively estimated as follows:

             a)     Plaintiff J.J.S.M., an amount in excess                 of THREE
      HUNDRED FIFTY THOUSAND DOLLARS ($350,000.00)
                       V. JOINT AND SEVERAL LIABILITIES

      19.    In accordance to the laws of the Commonwealth of Puerto Rico, as joint

tortfeasors, Defendant’s insurance carrier must be held severally liable for all of the

damages alleged in this Complaint. Defendants above described acts or omissions
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constitute a tort pursuant to Article 1802 as prescribed in the Puerto Rico Civil Code.

P.R. Laws ANN. tit. 31, § 5141 (1930).

         VI. PREJUDMENT INTEREST, ATTORNEY FEES AND COST

      20.    In the event that the Defendant deny their negligence or liability in the

occurrence of the events or damages caused to Plaintiffs, by assuming such reckless

conduct, Plaintiff is entitled to pre judgment interest to be computed over the amount

recovered through this Complaint, as well as a reasonable amount of attorney's fees, as

permitted by law.

                                 VII. TRIAL BY JURY

      21.    Plaintiff demands that the instant action be tried before a jury.

                                      VIII. RELIEF

      WHEREFORE, Plaintiff respectfully requests from this Honorable Court a

judgment against the Defendant, severally for the damages sustained by itself, as well

as the award of costs, attorney’s fees, interests and any other relief allowed in law

and/or equity that this Honorable Court might deem proper and just, regardless of

whether said remedy was claimed or not.

      RESPECTFULLY SUBMITTED

      In San Juan, Puerto Rico, this 6th of November 2017.




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